
PER CUR.
The court is of opinion, that the appellant is not entitled to dower in the mill, which was built by the purchaser subsequent to the date of his purchase; but that she is entitled to be endowed of the site of the mill, and the fifty acres of land thereto attached, in possession of the ap-pellee, estimated by the commissioners appointed in this cause, to be of the value of fifteen dollars per annum, Iiarg. Co. Eitt. 32, note 8; Perk. sect. 328; 2 Bac. Ab. 368; and, therefore, the appellee is to be decreed to pay to the appellant five dollars per an-num, beginning from the commencement of this suit, and continuing during her life, in lieu of her dower in the said mill and fifty acres of land, with right to enter in case of default of payment for forty days after demand made; and with liberty to apply to the high court of chancery for future directions concerning the same.
The entry on the order book was as follows: “The court is of opinion that the appellant is entitled to dower in the site of the mill with the fifty acres of land thereto attached, in the possession of the appellee, estimated by the commissioners, in their report in the proceedings of this cause, to be worth fifteen dollars per an-num; and that there is error in so much of the decree aforesaid, as relates to the said mill and land: Therefore it is decreed and ordered that so much of the said decree, as is above stated to be erroneous, be reversed and annulled, and that the appellee pay to the appellant her costs by her expended in the prosecution of her appeal aforesaid here. And this court proceeding to make such decree in lieu of that part of the decree aforesaid before reversed, as the said court of chancery should have pronounced, doth decree and order, that the ap-pellee *pay to the appellant five dollars as rent for each year since the commencement of this suit, for and during her life, in lieu of her dower in the said mill and fifty acres of land, reserving to the appellant a right to enter on and take possession of her dower in and thirds of the said mill and fifty acres of land in case of the non-payment of all the rent which may be due ■when a final decree is made by the said superior court of chancery in the cause, within such time as the decree shall direct, or in case the future rents shall not be paid annually, or within forty days after they or any of them become annually due and demanded: and liberty is reserved to the parties to apply to the said court of chancery for further directions as to enlarging the times of payment in cases of accident, or as to other matters concerning the same.”
